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    IT IS ORDERED as set forth below:



    Date: June 17, 2021

                                                      _____________________________________
                                                                 Wendy L. Hagenau
                                                            U.S. Bankruptcy Court Judge

_______________________________________________________________




                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION


IN RE:                                                        :                 CHAPTER 7
                                                              :
BOBBY MANALCUS WILBANKS,                                      :                 CASE NO. 10-60990-WLH
KIMBERLY ANN WILBANKS                                         :
                                                              :
           Debtors.                                           :

      ORDER GRANTING TRUSTEE’S MOTION TO PAY CLAIMED EXEMPTION

           On June 16, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estates (collectively, the “Bankruptcy Estate”) of Bobby Manalcus Wilbanks and Kimberly

Ann Wilbanks (collectively, “Debtors”), filed Trustee’s Motion to Pay Debtors’ Claimed

Exemption [Doc. No. 90] (the “Motion”) seeking an order authorizing Trustee to pay Debtors

their Exemption in a certain Settlement in the amount of $11,500.00.1




1
           Capitalized terms not defined in this Order shall have the meanings ascribed to them in the Motion [Doc.
No. 90].
                                                         1
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        Having considered the Motion, and for good cause shown, it is hereby

        ORDERED that the Motion is GRANTED: Trustee is authorized to pay Debtors their

Exemption in the amount of $11,500.00, based on available funds.

                                   [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:/s/ Michael J. Bargar
    Michael J. Bargar
    Georgia Bar No. 645709
    michael.bargar@agg.com
171 17th Street, NW, Suite 2100
Atlanta, GA 30363
Telephone: (404) 873-7030


Identification of parties to be served:

Office of the United States Trustee
Room 362, Richard B. Russell Building
75 Ted Turner Drive, S.W.
Atlanta, Georgia 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Road, Suite 555
Atlanta, GA 30305

Karen Scott Greene
Karen Scott Greene, PC
PO Box 390322
Snellville, GA 30039

Bobby Manalcus Wilbanks
426 Ellington Road
Oxford, GA 30054




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Kimberly Ann Wilbanks
426 Ellington Road
Oxford, GA 30054

Michael J. Bargar
Arnall Golden Gregory LLP
171 17th Street, NW, Suite 2100
Atlanta, GA 30363




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